                     Case 4:13-cr-00007-JRH-CLR Document 731 Filed 05/15/15 Page 1 of 1
A0247(10/11) Order Regarding Motion for Sentence Reduction Pursuant to IS U.S.C. § 3582(c)(2)                               Page I of 2 (Page 2 Not for Public Disclosure)




                                                               UNITED STATES DISTRICT COURT
                                                                                     for the
                                                                           Savannah Division
                       United States of America                                   )
                                        V.                                             )
                                                                                       ) Case No: 4:13-CR-00007-6
                          Anthony Dether Aaron                                                                                                   -
                                                                                       ) USMNo: 17917-021
Date of Original Judgment:         September 29. 2014                                  ) Bruce Steven Harvey & JainScott Byrne
Date of Previous Amended Judgment: N/A                                                 ) Defendant's Attorney
(Use Date of Last Amended Judgment. if any)
                                                                                                                           LP
                                                                                                                                                       1        2,
                                         Order Regarding Motion for Sentence Reduction Pursuant In 18 U.S.C. § 3582(c)(2)


        Upon motion of IIthe defendant Ethe Director of the Bureau of Prisons                the court t1r I1J.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing rarthat has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant t\28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USS'I § 1131.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
RX DENIED.           R
             GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last Judgment
              issued) of       months is reduced to


                                                   (Complete Paris I and 11 of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated September 29. 2014, shall remain in effect.
IT IS SO ORDERED.

Order Date:                v
                         e f
                                                                                                              Judge's signature./


                                                                                           William T. Moore, Jr.
                                                                                           Judge, U.S. District Court
Effective Date: November 1, 2015                                                           Southern District of Georgia
                         ('fd,fferenIfronr order date)                                                      Printed name and title
